  Case 5:07-cr-00017-DCB-FKB    Document 418   Filed 02/24/15   Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


UNITED STATES                                                     PLAINTIFF


VS.                            CRIMINAL ACTION NO: 5:07-cr-17-DCB-FKB
                                      CIVIL ACTION NO: 5:15-cv-15-DCB


CHARLES EDWARD PRICE                                              DEFENDANT

                     MEMORANDUM OPINION AND ORDER

      This cause is before the Court on Motion of the Defendant,

Charles Edward Price, For Prosecutorial Misconduct Presenting False

Evidence [docket entry no. 390]. The Court has previously construed

this motion as a Motion to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody pursuant to 28 U.S.C. § 2255. Order,

ECF   No.   398.   Having   carefully   considered     said     Motion,   the

Government’s opposition thereto, applicable statutory and case law,

and being otherwise fully advised in the premises, the Court finds

and orders as follows:

      Defendant Charles Edward Price was convicted of conspiracy to

possess with the intent to distribute cocaine base on January 2,

2008, pursuant to a plea agreement, and sentenced to 292 months. As

part of his plea agreement, Price waived his right to contest his

sentence in a post-conviction proceeding. On February 9, 2010,

Price filed his first motion under Section 2255. This Court found,

in ruling on that motion, that Price’s plea agreement was entered

                                    1
  Case 5:07-cr-00017-DCB-FKB   Document 418    Filed 02/24/15   Page 2 of 3



into voluntarily and knowingly and that it effectively waived the

arguments made in the motion. Order 9, ECF No. 347.

     Price filed this motion on March 7, 2014, making claims for

(1) prosecutorial misconduct, (2) breach of his plea agreement, and

(3) inaccurate information in the presentence report. Mot. 1, ECF

No. 390. Because the actions antecedent to these claims occurred

before the filing of his initial Section 2255 motion, they could

have been brought in that motion. Accordingly, they are considered

successive   and   require   certification    from   the   Fifth    Circuit.

See United States v. Orozco-Ramirez, 211 F.3d 862, 869 (5th Cir.

2000). “A second or successive motion must be certified . . . by a

panel of the appropriate court of appeals. . . .” 28 U.S.C. §

2255(h). Price did not seek certification before filing. Without

such certification, this Court cannot entertain the motion, and it

will, therefore, be denied.

     Further, the waiver contained in the plea agreement would

effectively bar these claims. This Court previously found that

waiver valid, and the Fifth Circuit denied Price’s application for

a certificate of appealability. See Judgment of USCA 2, ECF No.

379. Accordingly,

     IT IS HEREBY ORDERED that Defendant’s Motion for Prosecutorial

Misconduct, construed as a Motion to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody pursuant to 28 U.S.C. §

2255, is DENIED.


                                   2
Case 5:07-cr-00017-DCB-FKB   Document 418   Filed 02/24/15   Page 3 of 3



  SO ORDERED this the 23rd day of February 2015.


                                      /s/ David Bramlette
                                     UNITED STATES DISTRICT JUDGE




                                 3
